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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

                            CASE NO. 4:10CR00065-17 BSM

RAY MCVAY a/k/a Lil Ray                                                      DEFENDANT


                   AMENDED JUDGMENT AND COMMITMENT

       The Judgment and Commitment Order [Doc. No. 762] entered on February 23, 2012,

is hereby amended to change the date of imposition of judgment from February 13, 2012, to

February 17, 2012, and to change Statement of Reasons, Part III, to correctly provide that the

fine range is from $10,000 to $2,000,000.

       All other conditions contained in the original Judgment and Commitment Order shall

remain unchanged and in full force and effect.

       IT IS SO ORDERED this 28th day of February 2012.




                                                  UNITED STATES DISTRICT JUDGE
